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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

REGINALD CRAWFORD,

Plaintiff,
V. Case No: 6:16-cv-2034-Orl-28GJK
WELLS FARGO HOME MORTGAGE,

Defendant.

 

ORDER

In light of the Joint Stipulation of Dismissal with Prejudice (Doc. 21), the Clerk is

directed to close this case.

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DONE and ORDERED in Orlando, Florida, on March

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JOHN ANTOON II
United States District Judge

Copies furnished to:
Counsel of Record

 
